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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

ALYSSA MAYS,
individually and on behalf of all others
similarly situated,
                                                         CASE NO.:
                   Plaintiffs,
       v.                                                CLASS ACTION COMPLAINT

HAIN CELESTIAL GROUP, INC.,                              JURY TRIAL DEMANDED

                   Defendant.


                                 CLASS ACTION COMPLAINT

       Plaintiff ALYSSA MAYS (“Plaintiff”), on behalf of herself and all others similarly

situated, by her undersigned attorneys, against Defendant, HAIN CELESTIAL GROUP, INC.

(hereafter “Hain” or “Defendant”), alleges the following based upon personal knowledge as to

herself and her own action, and, as to all other matters, alleges, upon information and belief and

investigation of her counsel, as follows:

                                        INTRODUCTION




1
  The products at issue are all baby foods sold by Defendant that contain one or more of the
following ingredients: organic barley flour, organic chopped broccoli, organic date paste, organic
cinnamon powder, organic brown flax milled, organic yellow papaya puree, organic whole what
fine, organic red lentils, organic oat flakes, organic oat flour; organic vitamin pre-mix, organic
brown rice flour, organic whole raisins, organic soft white wheat flour, organic spelt flour, organic
barley malt extract, organic yellow split pea powder, medium grain whole rice, organic butternut
squash puree, and organic blueberry puree, and include, Stage 1: Baby Chicken & Chicken Broth,
Stage 2: Sweet Potato and Chicken Dinner; Stage 2: Chicken & Rice (the “Products”). Discovery
may reveal additional products at issue.
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                                         THE PARTIES




2
    See https://www.earthsbest.com/why-earths-best/.
3
    Id.


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                JURISDICTION AND VENUE




                             3
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                              FACTUAL ALLEGATIONS




4
  https://www.researchandmarkets.com/reports/338658/baby_foods_and_infant_formula_global_
market?utm_source=dynamic&utm_medium=BW&utm_code=b559sk&utm_campaign=138612
+-+Global+Baby+Foods+and+Infant+Formula+Market+Assessment+2020-2025&utm_exec=jo
ca220bwd.
5
  Id.


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6
 U.S. House of Representatives Subcommittee on Economic and Consumer Policy, Staff Report,
“Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium and Mercury (Feb.
4, 2021).


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7
  See https://www.cdc.gov/nceh/lead/prevention/pregnant.htm.
8
  See https://www.epa.gov/ground-water-and-drinking-water/basic-information-about-lead-drinki
ng-water.
9
   G. Schwalfenberg, I. Rodushkinb, S.J. Genuis, “Heavy metal contamination of prenatal
vitamins,” Toxicology Reports 5 at 392 (2018).


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10
   See US Report, supra n.3, at 13
11
   Id. at 10.
12
   Id.
13
   Id.
14
   Id.
15
   Id. at 12.
16
   Id.


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         Plaintiff Relies Upon the Products’ Label to Purchase the Products




17
   Id.
18
   Id.
19
   Id.


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               CLASS ACTION ALLEGATIONS




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                  (On behalf of the Ohio Class)




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                           COUNT 2

                   UNJUST ENRICH MENT
                  (On Behalf of the Ohio Class)




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       WHEREFORE, Plaintiff, individually and on behalf of the other members of the Class

proposed in this Complaint, respectfully requests that the Court enter judgment as follows:




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Dated: February 9, 2021                    Respectfully submitted,


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                                            Class

*pro hac vice to be filed




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